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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,                     Criminal No. 19-20793

v.                                                  Hon. Gershwin A. Drain

KEITH EDWARD-GERALD DOTSON,

                     Defendant.
                                           /

                     STIPULATION TO ADJOURN DATES
                      AND FIND EXCLUDABLE DELAY

      The parties stipulate and agree to adjourn the trial in this case from March 31,

2020, to May 26, 2020. The parties also agree to adjourn the motion filing deadline

to March 2, 2020, and the plea cutoff to May 11, 2020. The parties further stipulate,

and jointly move for the Court to find, that the time period between March 31, and

May 26, 2020, qualifies as excludable delay under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7), because the ends of justice served by the granting of the requested

continuance outweigh the best interests of the public and Defendant in a speedy trial.

The parties are requesting this continuance and a finding of excludable delay for the

following reasons:

      1.     On November 8, 2019, Defendant was charged in a complaint with

             receipt and distribution of child pornography and possession of child
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             pornography. Defendant made his initial appearance and was released

             on bond on November 12, 2019.

      2.     On December 2, 2019, Defendant was indicted on count 1 –

             distribution of child pornography, count 2 – receipt of child

             pornography, and count 3 – possession of child pornography.

      3.     On December 10, 2019, defense counsel reviewed part of the

             available forensic discovery in this case at the United States

             Attorney’s Office.

      4.     The government has produced the majority of discovery in this case.

             However, forensic review of Defendant’s devices is not yet completed.

      5.     Defense counsel needs additional time to meet with Defendant and

             discuss the forensic discovery that has already been reviewed, to

             review the forthcoming discovery and discuss it with Defendant, and

             will need time to return to the United States Attorney’s Office to

             review additional forensic evidence.

      6.     Additionally, defense counsel requires additional time to engage in plea

             negotiations with the government and to prepare materials that may be

             relevant to ongoing plea negotiations.

      The government sought concurrence and Defendant agrees that the

adjournment is in his best interest. Therefore, all parties request that this honorable
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Court find that the ends of justice served by the granting of this continuance

outweigh the best interests of the public and Defendant in a speedy trial, and agree

to adjourn the trial in this matter to May 26, 2020, the plea cutoff to May 11, 2020,

and the motion filing deadline to March 2, 2020. The parties also request that the

Court make an ends of justice finding that the time period between March 31, 2020,

and May 25, 2020, qualifies as excludable delay under the Speedy Trial Act, 18

U.S.C. § 3161(h)(7).



IT IS SO STIPULATED.


s/ Devon Schulz                              s/ Raymond A. Cassar_________
Assistant United States Attorney             Attorney for Defendant
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Dated: February 7, 2020
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                        Criminal No. 19-20793

v.                                                   Hon. Gershwin A. Drain

KEITH EDWARD-GERALD DOTSON,

                   Defendant.
                                           /

                      ORDER ADJOURNING DATES
                    AND FINDING EXCLUDABLE DELAY

      The Court has considered the parties’ stipulation and joint motion to continue

the trial in this matter to May 25, 2020, and finds that the time period from March

31, 2020, to May 25, 2020, qualifies as excludable delay under the Speedy Trial Act,

18 U.S.C. § 3161(h)(7). For the reasons described in the parties’ submission, and

after considering the factors listed in § 3161(h)(7)(B), the Court finds that the ends

of justice served by granting the parties’ requested continuance outweigh the best

interests of the public and the defendant in a speedy trial and that the time from

March 31, 2020, to May 25, 2020, qualifies as excludable delay under § 3161(h)(7).

Specifically, the Court finds that the delay is necessary for the following reasons:

      1.     On November 8, 2019, Defendant was charged in a complaint with

             receipt and distribution of child pornography and possession of child
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            pornography. Defendant made his initial appearance and was released

            on bond on November 12, 2019.

      2.    On December 2, 2019, Defendant was indicted on count 1 –

            distribution of child pornography, count 2 – receipt of child

            pornography, and count 3 – possession of child pornography.

      3.    On December 10, 2019, defense counsel reviewed part of the

            available forensic discovery in this case at the United States

            Attorney’s Office.

      4.    The government has produced the majority of discovery in this case.

            However, forensic review of Defendant’s devices is not yet completed.

      5.    Defense counsel needs additional time to meet with Defendant and

            discuss the forensic discovery that has already been reviewed, to

            review the forthcoming discovery and discuss it with Defendant, and

            will need time to return to the United States Attorney’s Office to

            review additional forensic evidence.

      6.    Additionally, defense counsel requires additional time to engage in plea

            negotiations with the government and to prepare materials that may be

            relevant to ongoing plea negotiations.

      IT IS THEREFORE ORDERED that the time from March 31, 2020, to

May 26, 2020, shall constitute excludable delay under the Speedy Trial Act, 18
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U.S.C. § 3161(h)(7), because the Court finds that the ends of justice served by the

granting of the continuance outweigh the best interests of the public and the

defendant in a speedy trial.

      IT IS FURTHER ORDERED that the following deadlines will apply to

these proceedings:

      Motion Deadline: March 2, 2020

      Plea Cutoff:        May 11, 2020 at 3:30 p.m.

      Trial:               May 26, 2020 at 9:00 a.m.


                                             IT IS SO ORDERED.


                                             s/Gershwin A. Drain
                                             Hon. Gershwin A. Drain
                                             United States District Judge

Entered: February 19, 2020
